Case 4:17-cv-00121 Document 15 Filed in TXSD on 05/01/18 Page 1 of 7
                                                             United States District Court
                                                               Southern District of Texas

                                                                  ENTERED
                                                                  May 01, 2018
                                                               David J. Bradley, Clerk
Case 4:17-cv-00121 Document 15 Filed in TXSD on 05/01/18 Page 2 of 7
Case 4:17-cv-00121 Document 15 Filed in TXSD on 05/01/18 Page 3 of 7
Case 4:17-cv-00121 Document 15 Filed in TXSD on 05/01/18 Page 4 of 7
Case 4:17-cv-00121 Document 15 Filed in TXSD on 05/01/18 Page 5 of 7
Case 4:17-cv-00121 Document 15 Filed in TXSD on 05/01/18 Page 6 of 7
Case 4:17-cv-00121 Document 15 Filed in TXSD on 05/01/18 Page 7 of 7
